       Case 1:18-cv-09936-LGS-SLC Document 75 Filed 01/28/19 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
JANE DOE, LUKE LOE, RICHARD ROE, and MARY :
MOE, individually and on behalf of all others similarly                 :
situated,                                                               :
                                                                        :
                                         Plaintiffs,                    :
                                                                        : No. 1:18-cv-09936 (LGS)
                  v.                                                    :
                                                                        :
THE TRUMP CORPORATION, DONALD J. TRUMP, in :
his personal capacity, DONALD TRUMP, JR., ERIC                          :
TRUMP, and IVANKA TRUMP,                                                :
                                                                        :
                                         Defendants.                    :
                                                                        :
------------------------------------------------------------------------X

      NOTICE OF MOTION TO WITHDRAW APPEARANCE OF DAVID SPEARS

        PLEASE TAKE NOTICE that, upon the accompanying declaration of David Spears,

dated January 28, 2019, and pursuant to Local Civil Rule 1.4, Defendants respectfully request the

withdrawal of the appearance of David Spears, Esq. as counsel on their behalf. Defendants

further request, pursuant to Section 2.5 of the Electronic Case Filing Rules & Instructions, that

the email address dspears@spearsimes.com be removed from the ECF service notification list for

this case.

        Joanna C. Hendon, Cynthia Chen and Bradley Pollina, from the law firm of Spears &

Imes LLP, will remain as counsel of record to Defendants.
      Case 1:18-cv-09936-LGS-SLC Document 75 Filed 01/28/19 Page 2 of 2




Dated: January 28, 2019
       New York, New York

                                          Respectfully submitted,

                                          SPEARS & IMES LLP
                                          /s/ David Spears
                                          David Spears
                                          SPEARS & IMES LLP
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                                          New York, New York 10010
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                                          Fax: (212) 213-0849
                                          E-mail: dspears@spearsimes.com

                                          Counsel for The Trump Corporation,
                                          Donald J. Trump, in his personal capacity,
                                          Donald Trump, Jr., Eric Trump, and Ivanka
                                          Trump


SO ORDERED.

January __, 2019



                                          ______________________________
                                          The Honorable Lorna G. Schofield
                                          United States District Judge




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